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                       IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

    LIFE VAC LLC,

                    Plaintiff,                            Case No. 24-cv-01806

    v.
                                                          Judge Thomas M. Durkin
    THE INDIVIDUALS, et al.,
                                                          Magistrate Judge Sunil R. Harjani
                    Defendants.


                             PRELIMINARY INJUNCTION ORDER

             Plaintiff LIFE VAC LLC (“Life Vac”) filed a Motion for Entry of a Preliminary

    Injunction against the against the fully interactive, e-commerce stores1 operating under the seller

    aliases identified in Schedule A to the Complaint and attached hereto (collectively, “Defendants”)

    and using at least the domain names identified in Schedule A (the “Defendant Domain Names”)

    and the online marketplace accounts identified in Schedule A (the “Online Marketplaces”). After

    reviewing the Motion and the accompanying record, this Court GRANTS Life Vac’s Motion in

    part as follows.

            This Court finds Life Vac has provided notice to Defendants in accordance with the

Temporary Restraining Order (“TRO”) entered March 7, 2024 (Docket No. 18), which was

extended on March 15, 2024 (Docket No. 21), and Federal Rule of Civil Procedure 65(a)(1).

            This Court also finds, in the absence of adversarial presentation, that it has personal

jurisdiction over Defendants because Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Life Vac has provided a basis to



1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
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conclude that Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more seller aliases, offer

shipping to the United States, including Illinois, and have sold products using infringing and

counterfeit versions of Life Vac’s federally registered copyrights, which are covered by U.S.

Copyright Office Registration Nos. VA 2-332-974, VAu 1-489-169, VAu 1-489-170, VA 2-335-

339, VA 2-335-352, and VAu 1-495-820, registrations for promotional images of the Life Vac

products (the “LIFEVAC Copyrights”) and of Life Vac’s federally registered trademark, which is

covered by U.S. Trademark Registration No. 6,735,265 (the “LIFEVAC Trademark”) to residents

of Illinois. In this case, Life Vac has presented screenshot evidence that each Defendant e-

commerce store is reaching out to do business with Illinois residents by operating one or more

commercial, interactive internet stores through which Illinois residents can and do purchase

products using counterfeit versions of the LIFEVAC Copyrights and LIFEVAC Trademark. See

Docket Nos. 14-16, which includes screenshot evidence confirming that each Defendant e-

commerce store does stand ready, willing and able to ship its counterfeit goods to customers in

Illinois bearing infringing and/or counterfeit versions of the LIFEVAC Copyrights and infringing

the LIFEVAC Trademark.

       This Court also finds that the injunctive relief previously granted in the TRO should remain

in place through the pendency of this litigation and that issuing this Preliminary Injunction is

warranted under Federal Rule of Civil Procedure 65. Evidence submitted in support of this Motion

and in support of Life Vac’s previously granted Motion for Entry of a TRO establishes that Life

Vac has demonstrated a likelihood of success on the merits; that no remedy at law exists; and that

Life Vac will suffer irreparable harm if the injunction is not granted.




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         Specifically, Life Vac has proved a prima facie case of copyright infringement because (1)

Life Vac owns all exclusive rights in the LIFEVAC Copyrights, and (2) Life Vac has shown

Defendants have deceived unknowing consumers using the LIFEVAC Copyrights without

authorization. Life Vac has also proved a prima facie case of trademark infringement because (1)

the LIFEVAC Trademark is a distinctive mark and is registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to use

the LIFEVAC Trademark, and (3) Defendants’ use of the LIFEVAC Trademark is causing a

likelihood of confusion as to the origin or sponsorship of Defendants’ products with Life Vac.

Furthermore, Defendants’ continued and unauthorized use of the LIFEVAC Copyrights and

Trademark irreparably harms Life Vac through diminished goodwill and brand confidence,

damage to Life Vac’s reputation, loss of exclusivity, and loss of future sales. Monetary damages

fail to address such damage and, therefore, Life Vac has an inadequate remedy at law. Moreover,

the public interest is served by entry of this Preliminary Injunction to dispel the public confusion

created by Defendants’ actions. Accordingly, this Court orders that:

 1.       Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

          for, with, by, through, under, or in active concert with them be preliminarily enjoined and

          restrained from:

          a. using the LIFE VAC Copyrights and LIFEVAC Trademark or any reproductions,

             counterfeit copies, or colorable imitations in any manner in connection with the

             distribution, marketing, advertising, offering for sale, or sale of any product that is not

             a genuine Life Vac product or not authorized by Life Vac to be sold in connection

             with the LIFEVAC Copyrights and LIFEVAC Trademark;




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         b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Life Vac product or any other product produced by Life Vac, that is not Life Vac’s or

            not produced under the authorization, control, or supervision of Life Vac and

            approved by Life Vac for sale under the LIFEVAC Copyrights and LIFEVAC

            Trademark;

         c. committing any acts calculated to cause consumers to believe that Defendants’

            products are those sold under the authorization, control, or supervision of Life Vac,

            or are sponsored by, approved by, or otherwise connected with Life Vac; and

         d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Life Vac, nor authorized by Life

            Vac to be sold or offered for sale, and which bear any of LIFEVAC Copyrights and

            LIFEVAC Trademark, including the LIFEVAC Copyrights and LIFEVAC

            Trademark, or any reproductions, counterfeit copies, or colorable imitations.

2.       Defendants shall not transfer or dispose of any money or other of Defendants’ assets in

         any of Defendants’ financial accounts.

3.       The domain name registries for the Defendant Domain Names, including, but not limited

         to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

         Interest Registry, and the domain name registrars, including, but not limited to, GoDaddy

         Operating    Company      LLC,     Tucows.com,      Name.com,      PDR     LTD.     d/b/a/

         PublicDomainRegistry.com, DNSPod. Inc, MarkMonitor.inc, and Namecheap Inc.,

         within seven (7) calendar days of receipt of this Order or prior to the expiration of this




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         Order, whichever date shall occur first, shall disable the Defendant Domain Names and

         make them inactive and untransferable until further order by this Court.

4.       Upon Life Vac’s request, Defendants and any third party with actual notice of this Order

         who is providing services for any of Defendants, or in connection with any of Defendants’

         Online Marketplaces, including, without limitation, any online marketplace platforms

         such as eBay, Inc., AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com,

         Inc., ContextLogic Inc. d/b/a Wish.com (“Wish.com”), Walmart.com, and DHGate

         (collectively, the “Third Party Providers”), shall, within seven (7) calendar days after

         receipt of such notice, provide to Life Vac expedited discovery, limited to copies of

         documents and records in such person’s or entity’s possession or control sufficient to

         determine:

         a. the identities and locations of Defendants, their officers, agents, servants, employees,

            attorneys, and any persons acting in active concert or participation with them,

            including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment for

            services, and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, including Defendants’ sales and listing history related to their respective

            Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their officers,

            agents, servants, employees, attorneys, and any persons acting in active concert or

            participation with them, including such accounts residing with or under the control of

            any banks, savings and loan associations, payment processors or other financial


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            institutions, including, without limitation, PayPal, Inc. (“PayPal”), Alipay, Wish.com,

            Alibaba, Ant Financial Services Group (“Ant Financial”), Amazon Pay, DHgate.com

            (“DHgate”), eBay.com (“eBay”), Payoneer, Inc. (“Payoneer”), PingPong Global

            Solutions, Inc. (“PingPong”), Coinbase Global, Inc. (“Coinbase”), LianLian Global

            t/as LL Pay U.S., LLC (“LianLian”), AllPay Limited (“AllPay”), Union Mobile

            Financial Technology Co., Ltd (“Union Mobile”), World First UK Ltd. (“World

            First”), Paxful, Inc. (“Paxful”), Shopify, Inc. (“Shopify”), Stripe, Inc. (“Stripe”), OFX

            Group (“OFX”), SellersFundingCorp (“Sellers Funding”), Walmart.com (“Walmart”)

            or other merchant account providers, payment providers, third party processors, and

            credit card associations (e.g., MasterCard and VISA).

5.       Upon Life Vac’s request, those with notice of this Order, including the Third Party

         Providers as defined in Paragraph 4, shall within seven (7) calendar days after receipt of

         such notice, disable and cease displaying any advertisements used by or associated with

         Defendants in connection with the sale of counterfeit and infringing goods using the

         LIFEVAC Copyrights and LIFEVAC Trademark.

6.       Any Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com,

         and Amazon Pay, DHGate, Payoneer, PingPong, Coinbase, LianLian, AllPay, Union

         Mobile, World First, Paxful, Shopify, Stripe, OFX, Sellers Funding, and Walmart shall,

         within seven (7) calendar days of receipt of this Order:

         a. locate all accounts and funds connected to Defendants’ seller aliases, including, but

            not limited to, any financial accounts connected to the information listed in Schedule

            A hereto, the other Defendants’ information provided by Life Vac including but not




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            limited to Defendant Domain Names, account IDs, legal name, addresses, and any e-

            mail addresses provided for Defendants by third parties; and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further order by this Court.

7.       Life Vac may provide notice of the proceedings in this case to Defendants, including

         service of process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by

         electronically publishing a link to the Pleadings, this Order, and other relevant documents

         on a website and by sending an e-mail with a link to said website to the e-mail addresses

         provided for Defendants by third parties. The Clerk of the Court is directed to issue a

         single original summons in the name of “All Categories Factory 02 Store and all other

         Defendants identified on the Operative Complaint” that shall apply to all Defendants. The

         combination of providing notice via electronic publication and e-mail, along with any

         notice that Defendants receive from payment processors, shall constitute notice

         reasonably calculated under all circumstances to apprise Defendants of the pendency of

         the action and afford them the opportunity to present their objections.

8.       Life Vac’s Schedule A to the Complaint [Docket No. 4], Exhibit 3 to the Declaration of

         Michael Plunkett [Docket Nos. 14-16], and the TRO [Docket No. 18] are unsealed.

9.       Any Defendants that are subject to this Order may appear and move to dissolve or modify

         the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

         and the Northern District of Illinois Local Rules. Any third party impacted by this Order

         may move for appropriate relief.

10.      The $150,000 bond posted by Life Vac shall remain with the Court until a final

         disposition of this case or until this Preliminary Injunction is terminated.


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                                                   SO ORDERED:




                                                   Honorable THOMAS M. DURKIN
                                                   United States District Judge
Dated: April 9, 2024




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                          Schedule A to Preliminary Injunction

DOE No.   Seller name                      Seller URL
  1       All Categories Factory 02        https://www.aliexpress.com/store/1101369657
          Store
  2       Fashionable bags online Store    https://www.aliexpress.com/store/1103322019
  3       RUISEE BELOVE Store Store        https://www.aliexpress.com/store/1102669668
  4       SCALE Outdoors Store             https://www.aliexpress.com/store/1101279844
  5       Shop1103133072 Store             https://www.aliexpress.com/store/1103132083
  6       Shop1103312315 Store             https://www.aliexpress.com/store/1103319306
  7       Shop1103320315 Store             https://www.aliexpress.com/store/1103310614
  8       Sportin Outdoors Store           https://www.aliexpress.com/store/1103322045
  9       Top Sports Tech Store            https://www.aliexpress.com/store/1102889048
  10                       Airavac         https://www.amazon.com/sp?seller=A262S7Q
                                           NTLWHHO
  11                        Marivac        https://www.amazon.com/sp?seller=A3VZTVG
                                           FBDIWWV
  12      aiYuanBaiQunShangM               https://www.amazon.com/sp?seller=A2RZ22C
                                           C0DYMA6
  13      Ansenfun                         https://www.amazon.com/sp?seller=ASSRXZ6
                                           TWA0W8
  14      ATIMGO STORE                     https://www.amazon.com/sp?seller=A3MM76F
                                           PCNB8V0
  15      bfjgchfgtadre                    https://www.amazon.com/sp?seller=A3JVCIN
                                           RKPGV8J
  16      DianeD                           https://www.amazon.com/sp?seller=A2BIDMU
                                           99ZJ10C
  17      GOWENIO                          https://www.amazon.com/sp?seller=A1SKPPM
                                           Q866S9J
  18      guodongjie                       https://www.amazon.com/sp?seller=A2Z32ZF
                                           WR2RP0R
  19      guodongkai                       https://www.amazon.com/sp?seller=A2OGJC9
                                           PS94W6Q
  20      HAILIANSEN                       https://www.amazon.com/sp?seller=A1ZG6ICT
                                           0AU5V4
  21      HUJFHAO US                       https://www.amazon.com/sp?seller=A19754YT
                                           CISNDX
  22      Jia Cheng Boutique shop          https://www.amazon.com/sp?seller=AWS67PQ
                                           B6HQUQ
  23      KeMingJiYoNaCiLuoWang            https://www.amazon.com/sp?seller=A2X0UOY
                                           ZZCY2WH
  24      LiuJunLong168                    https://www.amazon.com/sp?seller=A1ZG6ICT
                                           0AU5V4
  25      Mimi Like                        https://www.amazon.com/sp?seller=A2ZU3E2
                                           UQKP2RR

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  26     Mitensoon US                 https://www.amazon.com/sp?seller=A1RK69X
                                      FNH5UDK
  27     NAIJIAN MALL                 https://www.amazon.com/sp?seller=A1VSFHC
                                      ID09Y1O

  29     RichRichRich                 https://www.amazon.com/sp?seller=A2OXJHL
                                      Z15CTRH
  30     Shangrao Xuemo Network       https://www.amazon.com/sp?seller=A1V2Z6O
         Technology Co., Ltd.         61Z5WYB
  31     sinceredeal                  https://www.amazon.com/sp?seller=A1VD4FD
                                      87W8MKT
  32     tangyingjiannannvzhuang      https://www.amazon.com/sp?seller=A3WSAJ2
                                      G4J5C9
  33     Taodeshuang                  https://www.amazon.com/sp?&seller=AZ6X7Y
                                      8CPVHU4
  34     USAdealer7*24H               https://www.amazon.com/sp?seller=AYER64E
                                      5RRK8W
  35     VieFlex                      https://www.amazon.com/sp?seller=A2RASR9
                                      KMZB7P6
  36     Wenweiyu trade               https://www.amazon.com/sp?seller=A198RJTH
                                      APY6FB
  37     W-Journey                    https://www.amazon.com/sp?seller=AAQKX2
                                      KPYVB8C
  38     WuHuShiDaiMinDianZiShang     https://www.amazon.com/sp?seller=A3EM8B3
         WuYouXianGongSi              ACVA2HU
  39     XIANGRUI US                  https://www.amazon.com/sp?seller=A2VNIPY
                                      OEO4D0E
  40     xxhgf                        https://www.amazon.com/sp?seller=AGS2JDB
                                      HSMSKM
  41     yiru Zhao                    https://www.amazon.com/sp?seller=A2MAOC
                                      2MZ7C3P4
  42     abdulla_202                  https://www.ebay.com/usr/abdulla_202
  43     ahra-19                      https://www.ebay.com/usr/ahra-19
  44     altafhuss-37                 https://www.ebay.com/usr/altafhuss-37
  45     amod57                       https://www.ebay.com/usr/amod57

  47     becikitc                     https://www.ebay.com/str/qualityoutlets
  48     bend_da_trend_shoppers       https://www.ebay.com/usr/bend_da_trend_shop
                                      pers
  49     besatisfiedshop              https://www.ebay.com/usr/besatisfiedshop

  51     buynse86                     https://www.ebay.com/usr/buynse86
  52     dnrshop                      https://www.ebay.com/str/dnrshop
  53     easy-purchase-1              https://www.ebay.com/usr/easy-purchase-1
  54     goldenbazar                  https://www.ebay.com/usr/goldenbazar

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  55     iqtaw_20                     https://www.ebay.com/usr/iqtaw_20
  56     jcc_int84a                   https://www.ebay.com/str/jccint84a
  57     jesamar_39                   https://www.ebay.com/usr/jesamar_39
  58     jinm5068                     https://www.ebay.com/usr/jinm5068
  59     jusin_39                     https://www.ebay.com/usr/jusin_39
  60     kg72-94                      https://www.ebay.com/usr/kg72-94
  61     kha999183                    https://www.ebay.com/usr/kha999183
  62     marmu3535                    https://www.ebay.com/usr/marmu3535
  63     massodu_29                   https://www.ebay.com/usr/massodu_29
  64     mdmaa-72                     https://www.ebay.com/usr/mdmaa-72
  65     muhammadiq-90                https://www.ebay.com/usr/muhammadiq-90
  66     muhammashaf-24               https://www.ebay.com/usr/muhammashaf-24
  67     naseer71037                  https://www.ebay.com/usr/naseer71037
  68     naureenimran123              https://www.ebay.com/str/skicerstore
  69     nayabcollections             https://www.ebay.com/usr/nayabcollections
  70     offibur-0                    https://www.ebay.com/usr/offibur-0
  71     pervaisi-0                   https://www.ebay.com/usr/pervaisi-0
  72     ponzjl0112                   https://www.ebay.com/usr/ponzjl0112
  73     qameeztor                    https://www.ebay.com/usr/qameeztor

  75     raom42                       https://www.ebay.com/usr/raom42
  76     salab_9747                   https://www.ebay.com/usr/salab_9747
  77     sekhus93                     https://www.ebay.com/usr/sekhus93
  78     shahkh_50                    https://www.ebay.com/usr/shahkh_50
  79     shopping.artist              https://www.ebay.com/str/shoppingartist2024
  80     skicer                       https://www.ebay.com/usr/skicer
  81     sumiicollections             https://www.ebay.com/usr/sumiicollections
  82     supper_store                 https://www.ebay.com/usr/supper_store

  84     wo_852932                    https://www.ebay.com/usr/wo_852932
  85     yusradealz                   https://www.ebay.com/usr/yusradealz
  86     yzyuan999                    https://www.ebay.com/str/yzyuan999
  87     EasyLiving's store           https://www.walmart.com/seller/101308731
  88     hongtaizhiyuankeji           https://www.walmart.com/seller/101308731
  89     Joyful Toys                  https://www.walmart.com/reviews/seller/10157
                                      4753
  90     12sacredgems.com             http://12sacredgems.com
  91     achadossecretos.online       http://achadossecretos.online
  92     airpurityusa.com             http://airpurityusa.com

  94     amazingonshopping.com        http://amazingonshopping.com
  95     antasie.shop                 http://antasie.shop
  96     armixmarket.com              http://armixmarket.com
  97     athexe.com                   http://athexe.com
  98     btrsolutionshop.com          http://btrsolutionshop.com
                                     11
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  99     caldiscountshop.com          http://caldiscountshop.com
 100     calvinmart.com               http://calvinmart.com

 102     daybydayuser.com             http://daybydayuser.com
 103     daybydayutilites.com         http://daybydayutilites.com

 105     discountnuve.store           http://discountnuve.store

 107     eliteza.co                   http://eliteza.co
 108     facabao.com                  http://facabao.com
 109     fancyflair.co                http://fancyflair.co
 110     fdkshoppingstore.com         http://fdkshoppingstore.com
 111     fipper.co                    http://fipper.co
 112     flawlessdays.com             http://flawlessdays.com
 113     galasly.com                  http://galasly.com
 114     godanstore.com               http://godanstore.com

 116     homenoakstore.com            http://homenoakstore.com
 117     homiehive.com                http://homiehive.com
 118     hopevarieties.com            http://hopevarieties.com
 119     ifoundvarieties.com          http://ifoundvarieties.com
 120     infiniteardon.com            http://infiniteardon.com
 121     justpriceonline.com          http://justpriceonline.com


 124     modamuse.co                  http://modamuse.co
 125     myferbenbestshop.com         http://myferbenbestshop.com


 128     navobyparis.com              http://navobyparis.com
 129     newhevl.com                  http://newhevl.com
 130     pixibay.co                   http://pixibay.co
 131     potentialdiscount.com        http://potentialdiscount.com
 132     powerupify.com               http://powerupify.com

 134     swapzon.store                http://swapzon.store
 135     tebwi.com                    http://tebwi.com
 136     thegiftsky.com               http://thegiftsky.com
 137     theiconicgift.com            http://theiconicgift.com
 138     thevensmith.com              http://thevensmith.com
 139     universalbrandz.co           http://universalbrandz.co
 140     usamerica.shop               http://usamerica.shop

 142     venusdiscount.com            http://venusdiscount.com
 143     vernier-store.com            http://vernier-store.com
                                     12
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 144     vixily.com                   http://vixily.com
 145     Viyit.com                    http://Viyit.com
 146     weaveshop.co                 http://weaveshop.co
 147     weekyfree.com                http://weekyfree.com

 149     zaraco.co                    http://zaraco.co
 150     zinniazen.com                http://zinniazen.com




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